              Case 19-00149-SMT                     Doc 56           Filed 05/01/19 Entered 05/01/19 23:47:41                                      Desc Main
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              Fill in this information to identify your case:

 Debtor 1                     Thomas K. Stephenson
                              First Name                    Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                    Last Name

                                                    DISTRICT OF DISTRICT OF COLUMBIA, WASHINGTON D.C.
 United States Bankruptcy Court for the:            DIVISION

 Case number            19-00149
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                   amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person in
control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a sole
proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                  Unsecured claim
 1                                                               What is the nature of the claim?                 Trade debt                      $ $6,016.00
              Comptroller of the Treasury
              State of Maryland                                  As of the date you file, the claim is: Check all that apply
              301 W Preston St                                           Contingent
              Baltimore, MD 21201-2305                                   Unliquidated
                                                                         Disputed
                                                                         None of the above apply

                                                                 Does the creditor have a lien on your property?

                                                                         No
              Contact                                                    Yes. Total claim (secured and unsecured)                   $
                                                                                Value of security:                                  -$
              Contact phone                                                     Unsecured claim                                      $


 2                                                               What is the nature of the claim?                 Trade debt                      $ $11,328.00
              DC Tax and Revenue
              1101 4th St SW Fl 6                                As of the date you file, the claim is: Check all that apply
              Washington, DC 20024-4457                                  Contingent
                                                                         Unliquidated
                                                                         Disputed
                                                                         None of the above apply

                                                                 Does the creditor have a lien on your property?

                                                                         No
              Contact                                                    Yes. Total claim (secured and unsecured)                   $
                                                                                Value of security:                                  -$


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 Debtor 1          Stephenson, Thomas K.                                                            Case number (if known)           19-00149
            Contact phone                                                         Unsecured claim                                    $


 3                                                              What is the nature of the claim?                  Trade debt                    $ $52,148.00
            IRS Centralized Insolverncy
            PO Box 7346                                         As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19101-7346                                 Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)                   $
                                                                                Value of security:                                  -$
            Contact phone                                                       Unsecured claim                                      $


 4                                                              What is the nature of the claim?                  Bank loan                     $ $75,000.00
            Washington Capital Partners
            2815 Hartland Rd Ste 200                            As of the date you file, the claim is: Check all that apply
            Falls Church, VA 22043-3548                                 Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)                    $ $975,000.00
                                                                                Value of security:                                  - $ $900,000.00
            Contact phone                                                       Unsecured claim                                       $ $75,000.00


 5                                                              What is the nature of the claim?                  Trade debt                    $ $9,672.96
            Washington Gas & Light
            1100 H St NW                                        As of the date you file, the claim is: Check all that apply
            Washington, DC 20005-5476                                   Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                        None of the above apply

                                                                Does the creditor have a lien on your property?

                                                                         No
            Contact                                                      Yes. Total claim (secured and unsecured)                   $
                                                                                Value of security:                                  -$
            Contact phone                                                       Unsecured claim                                      $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Thomas K. Stephenson                                                        X
       Thomas K. Stephenson                                                                Signature of Debtor 2
       Signature of Debtor 1




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 Debtor 1          Stephenson, Thomas K.                                                            Case number (if known)           19-00149

       Date      May 1, 2019                                                               Date




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